Case 2:14-cv-02910-MWF-MRW Document 94 Filed 04/10/17 Page 1 of 40 Page ID #:1522




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     11

     12   Counsel for Plaintiffs

     13                       UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
     14
                                   WESTERN DIVISION
     15
          IN RE OSI SYSTEMS, INC.           Lead Case No. 14-cv-2910-MWF (MRWx)
     16   DERIVATIVE LITIGATION
     17                                     DERIVATIVE ACTION
          This Document Relates to:
     18
                                            PLAINTIFFS’ UNOPPOSED NOTICE
     19         ALL ACTIONS                 OF MOTION AND MOTION FOR
     20
                                            FINAL APPROVAL OF SETTLEMENT,
                                            AWARD OF ATTORNEYS’ FEES AND
     21                                     EXPENSE, AND APPROVAL OF
     22
                                            SERVICE AWARDS TO PLAINTIFFS;
                                            MEMORANDUM OF POINTS AND
     23                                     AUTHORITIES IN SUPPORT
     24
                                            THEREOF
                                            Date:      May 1, 2017
     25                                     Time:      10:00 a.m.
     26                                     Courtroom: 5A
                                            Judge:     Hon. Michael W. Fitzgerald
     27

     28          PLAINTIFFS’ UNOPPOSED NTC OF MOT. AND MOT. FOR FINAL APPROVAL;
                                 MEMORANDUM IN SUPPORT THEREOF
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     28          PLAINTIFFS’ UNOPPOSED NTC OF MOT. AND MOT. FOR FINAL APPROVAL;
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     28        PLAINTIFFS’ UNOPPOSED NTC OF MOT. AND MOT. FOR FINAL APPROVAL;
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      1                                 GLOSSARY
      2
           Abbreviation              Full Description
      3
           “Actions”                 The California Action and the Delaware Action
      4

      5    “AIT”                     Advanced Imaging Technology
      6
           “Board”                   OSI’s Board of Directors
      7
           “California Action”       In re OSI Sys., Inc. Deriv. Litig., Lead Case No.
      8
                                     14-cv-2910-MWF (MRWx) (C.D. Cal.)
      9

     10
           “California Plaintiffs”   Plaintiffs City of Irving and Hagan

     11    “City of Irving”          Plaintiff City of Irving Supplemental Benefit Plan
     12
           “Co-Lead Counsel”         Co-lead counsel for California Plaintiffs
     13

     14    “Defendants”              Individual Defendants and OSI

     15    “Delaware Action”         Kocen v. Chopra, No. 11291-VCL (Del. Ch.)
     16
           “Delaware Plaintiff”      Plaintiff Jeffrey Kocen in the Delaware Action
     17

     18    “DHS”                     Department of Homeland Security
     19
           “Fee and Expense Award” Any sum paid to Plaintiffs’ Counsel for their
     20                            attorneys’ fees and expenses as an award by this
                                   Court in recognition of the benefits conferred
     21
                                   upon OSI
     22
           Final Order and Judgment The [Proposed] Final Order and Judgment
     23
                                    submitted herewith
     24
           “Governance Measures”     Reforms to OSI’s corporate governance
     25
                                     measures, resulting from the Settlement
     26    “Hagan”                   Plaintiff Marc Hagan
     27
                                              viii
     28         PLAINTIFFS’ UNOPPOSED NTC OF MOT. AND MOT. FOR FINAL APPROVAL;
                                MEMORANDUM IN SUPPORT THEREOF
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      1     Abbreviation              Full Description
      2

      3     “Individual Defendants”   Defendants Deepak Chopra, William Ballhaus,
      4                               David Feinberg, Steven Good, Meyer Luskin,
                                      Ajay Mehra, and Alan Edrick
      5

      6     “Kocen”                   Delaware Plaintiff Jeffrey Kocen
      7     “Judge Phillips”          The Honorable Layn R. Phillips (Ret.)
      8
            “OSI” or the “Company”    Nominal Defendant OSI Systems, Inc.
      9

     10     “Plaintiffs”              Hagan, City of Irving, and Delaware Plaintiff
     11
            “Plaintiffs’ Counsel”     (i)    Bottini & Bottini, Inc., 7817 Ivanhoe
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                                      (iv) Safirstein Metcalf LLP, 1250 Broadway, 27th
     16                               Floor, New York, NY 10001, and (v) Hung G.
                                      Ta, Esq. PLLC, 250 Park Avenue, 7th Floor, New
     17
                                      York, NY 10177.
     18
            “Preliminary Approval     Preliminary Approval and Scheduling Order
     19
            Order”                    entered by this Court on January 24, 2017
     20

     21
            “Professor Morrisey”      Professor Daniel Morrisey of Gonzaga University
                                      School of Law
     22

     23     “Rapiscan”                Rapiscan Systems, Inc.

     24     “Settlement”              The settlement entered into between Plaintiffs and
     25                               Defendants, as reflected in the Stipulation

     26     “Settling Parties”        Plaintiffs and Defendants
     27
                                               ix
     28          PLAINTIFFS’ UNOPPOSED NTC OF MOT. AND MOT. FOR FINAL APPROVAL;
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      1     Abbreviation             Full Description
      2

      3
            “Scolnick Declaration”   Declaration of Judith Scolnick in Support of
      4                              Motion for Final Approval of Settlement
      5
            “Stipulation”            Stipulation and Agreement of Settlement, dated
      6
                                     November 23, 2016, entered into by Plaintiffs and
      7                              Defendants
      8
            “TSA”                    Transportation Security Administration
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     28         PLAINTIFFS’ UNOPPOSED NTC OF MOT. AND MOT. FOR FINAL APPROVAL;
                                MEMORANDUM IN SUPPORT THEREOF
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      1   TO: ALL PARTIES AND THEIR COUNSEL OF RECORD
      2          PLEASE TAKE NOTICE that on May 1, 2017, at 9:00 a.m., or at such
      3   other time date and time as ordered by the Court, in Courtroom 5A of the United
      4   States District Court for the Central District of California, located at the First Street
      5   Courthouse, 350 West First Street, Los Angeles, California 90012, Marc Hagan
      6   and City of Irving Supplemental Benefit Plan, Plaintiffs in the above captioned
      7   shareholder derivative action (the “Action”), will appear before the Honorable
      8   Michael W. Fitzgerald to move (the “Motion”), pursuant to Rule 23.1 of the
      9   Federal Rules of Civil Procedure and Local Rule 7 for this District, for entry of an
     10   order granting final approval of the Stipulation and Agreement of Settlement (the
     11   “Stipulation”) entered between and among the Parties to the Action.
     12          This Motion seeks entry of the [Proposed] Final Order and Judgment, which:
     13   (1) approves the Settlement set forth in the Stipulation; (2) dismisses the California
     14   Action with prejudice and without costs to Defendants or OSI, except as otherwise
     15   provided in the Stipulation; (3) directs the Delaware Plaintiff to file dismissal with
     16   prejudice of the Delaware Action; (4) enjoins the Releasing Parties from
     17   commencing, instituting, or prosecuting any of the Released Claims; (5) finds that
     18   the Notice of Pendency and Proposed Settlement was given in accordance with the
     19   Preliminary Approval Order, and that such Notice was reasonable and complied
     20   with the requirements of federal law and due process; and (6) approves the Fee and
     21   Expense Award to Plaintiffs’ Counsel in the amount of $1.6 million and directs
     22   payment in accordance with the Stipulation.1
     23

     24
          1
                  The [Proposed] Final Order and Judgment is both filed contemporaneously with the
     25   Motion as a Proposed Order and attached as Exhibit C to the Stipulation of Settlement, which is
          filed as Exhibit A to the Scolnick Declaration filed contemporaneously herewith.
     26

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                                                        1
     28           PLAINTIFFS’ UNOPPOSED NTC OF MOT. AND MOT. FOR FINAL APPROVAL;
                                  MEMORANDUM IN SUPPORT THEREOF
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      1         This Motion is brought pursuant to the terms of the Stipulation and this
      2   Court’s Order granting preliminary approval to this Settlement. Counsel for all
      3   parties have conferred over a period of several months concerning the substance of
      4   this Motion pursuant to Local Rule 7-3.
      5

      6   DATED: April 10, 2017          Respectfully submitted,
      7                                  SCOTT+SCOTT, ATTORNEYS AT LAW, LLP
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     28          PLAINTIFFS’ UNOPPOSED NTC OF MOT. AND MOT. FOR FINAL APPROVAL;
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                                      Facsimile: (303) 536-7849
      7

      8                               Co-Lead Counsel for Plaintiffs

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     28         PLAINTIFFS’ UNOPPOSED NTC OF MOT. AND MOT. FOR FINAL APPROVAL;
                                MEMORANDUM IN SUPPORT THEREOF
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      1                 MEMORANDUM OF POINTS AND AUTHORITIES
      2          Plaintiffs Marc Hagan and City of Irving Supplemental Benefit Plan
      3   respectfully submit this memorandum of points and authorities in support of their
      4   Unopposed Motion for Final Approval of Settlement, and entry of the [Proposed]
      5   Final Order and Judgment.2
      6   I.     INTRODUCTION
      7          On November 23, 2016, Plaintiffs, Nominal Defendant OSI, and the
      8   Individual Defendants entered into the Settlement of the Actions as reflected in the
      9   Stipulation. On January 24, 2017, this Court entered the Preliminary Approval
     10   Order, and approved the Notice and Summary Notice to OSI shareholders, which
     11   were duly provided.         To date, no shareholder has filed an objection to the
     12   Settlement. Plaintiffs now seek entry of the [Proposed] Final Order and Judgment,
     13   which: (1) approves the Settlement set forth in the Stipulation; (2) dismisses the
     14   California Action with prejudice and without costs, except as otherwise provided
     15   in the Stipulation; (3) directs the Delaware Plaintiff to file dismissal with prejudice
     16   of the Delaware Action; (4) enjoins the Releasing Parties from commencing,
     17   instituting, or prosecuting any of the Released Claims; (5) finds that the Notice of
     18   Pendency and Proposed Settlement was given in accordance with the Preliminary
     19   Approval Order, and that such Notice was reasonable and complied with due
     20   process requirements; and (6) approves the Fee and Expense Award to Plaintiffs’
     21   Counsel in the amount of $1.6 million and Service Awards of $5,000 per Plaintiff
     22

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                 The Stipulation of Settlement is filed as Exhibit A to the Declaration of Judith Scolnick
     24   filed contemporaneously herewith (“Scolnick Decl.”). All capitalized terms herein, unless
          otherwise defined, have the same meaning as set forth in the Stipulation. The [Proposed] Final
     25   Order and Judgment is both filed contemporaneously as a Proposed Order and attached as
          Exhibit C to the Stipulation of Settlement.
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     28           PLAINTIFFS’ UNOPPOSED NTC OF MOT. AND MOT. FOR FINAL APPROVAL;
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      1   (to be paid from the Fees and Expense Award) and directs payment in accordance
      2   with the Stipulation. Pursuant to Local Rule 7-3, counsel for all Parties have
      3   conferred over a period of several months concerning the substance of this Motion
      4   pursuant to Local Rule 7-3.
      5         The Settlement is the product of extensive, arm’s-length negotiations with
      6   assistance from a mediator, Judge Layn Phillips (“Judge Phillips”). Pursuant to the
      7   Settlement, OSI has agreed to adopt and implement significant corporate
      8   governance reforms that strengthen the Company’s internal controls, and enhance
      9   the independence and accountability of the Board.        These corporate reforms
     10   substantially benefit OSI and its shareholders.
     11   II.   BACKGROUND OF THE LITIGATION AND THE SETTLEMENT
     12         A.     Factual Background
     13         This is a consolidated shareholder derivative lawsuit against the members of
     14   OSI’s Board alleging that the Individual Defendants breached their fiduciary duties
     15   as directors and/or officers of OSI by: (1) causing the Company to disseminate
     16   false and misleading statements to investors and the U.S. Government in violation
     17   of the federal securities laws and regulatory requirements governing private
     18   company contracts with government agencies; (2) failing to implement adequate
     19   internal controls; and (3) failing to put in place an information and reporting
     20   system related to government contracting and compliance. Plaintiffs allege that
     21   these breaches led to costly consequences for OSI and its stockholders.
     22         OSI’s core business segment is Rapiscan, a developer and manufacturer of
     23   security systems which are primarily used in airports. The Company’s largest
     24   customers are the DHS and the TSA.            Plaintiffs allege that the Individual
     25   Defendants caused Rapiscan to conceal certain defects in its body scanner products
     26   by cherry picking modified scanners for TSA testing and indicating that those
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     28          PLAINTIFFS’ UNOPPOSED NTC OF MOT. AND MOT. FOR FINAL APPROVAL;
                                 MEMORANDUM IN SUPPORT THEREOF
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      1   select scanners were representative of its efforts to comply with new design
      2   requirements. When the TSA learned that Rapiscan may have misrepresented
      3   certain testing results due to the nonrepresentative scanners, the TSA issued a show
      4   cause letter in November 2012, expressing concerns that Rapiscan had not timely
      5   disclosed certain issues relating to its software development and questioning
      6   whether Rapiscan had manipulated the operational test. In January 2013, Rapiscan
      7   and TSA reached agreement to resolve the issues raised in the show cause letter.
      8   This agreement called for Rapiscan to terminate its body scanner software
      9   development contract with the TSA, but permitted Rapiscan’s overall body scanner
     10   contract with the TSA to continue and the TSA to continue to utilize previously
     11   purchased body scanner units in other venues. Thereafter, the DHS issued a Notice
     12   of Proposed Debarment on May 20, 2013, that automatically suspended OSI from
     13   bidding on any government contracts. Subsequently, OSI and DHS entered into a
     14   30-month Administrative Agreement relating to the issues described in the Notice
     15   of Proposed Debarment.
     16         In addition to the issues with the body scanners, Plaintiffs allege that
     17   Rapiscan was also using an unapproved Chinese part in its baggage scanners in
     18   violation of the Company’s contracts with the TSA. When the TSA discovered the
     19   unapproved parts, it issued a second show cause letter on November 20, 2013, and
     20   later cancelled a $67 million delivery order for the installation of baggage
     21   scanners. As a result of these events, Plaintiffs filed the Actions. In addition,
     22   certain shareholders filed a related securities fraud class action lawsuit, Roberti v.
     23   OSI Systems Inc., Case No. 2:13-cv-09174-MWF (MRWx) (C.D. Cal.).
     24         B.     Procedural History
     25         On April 15, 2014, Plaintiff Hagan commenced the first shareholder
     26   derivative action on behalf of OSI and against the Individual Defendants. The
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     28          PLAINTIFFS’ UNOPPOSED NTC OF MOT. AND MOT. FOR FINAL APPROVAL;
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      1   Hagan Action asserted three claims:          (1) breach of fiduciary duties for
      2   disseminating misleading information; (2) breach of fiduciary duties for failing to
      3   maintain adequate internal controls; and (3) unjust enrichment.
      4         On December 29, 2014, the City of Irving commenced the second
      5   shareholder derivative action on behalf of OSI.        City of Irving’s complaint
      6   followed a shareholder demand for books and records pursuant to 8 Del. C. §220
      7   that was made on February 11, 2014. On February 26, 2015, following the denial
      8   of OSI’s motion to dismiss in the related securities fraud class action, the Court
      9   granted the California Plaintiffs’ motion to consolidate the two derivative actions
     10   and appointed Scott+Scott, Attorneys at Law, LLP, Bottini & Bottini, Inc., and The
     11   Shuman Law Firm as Co-Lead Counsel.             The California Plaintiffs filed a
     12   consolidated complaint on August 25, 2015.
     13         On July 20, 2015, Kocen commenced the third shareholder derivative action
     14   on behalf of OSI in the Delaware Court of Chancery. Kocen’s complaint followed
     15   a shareholder demand for books and records under 8 Del. C. §220 that was made
     16   on January 31, 2014, and asserted two claims against the Individual Defendants for
     17   breach of fiduciary duty.
     18         On February 10, 2016, Defendants filed a comprehensive motion to dismiss
     19   and in the alternative a motion to stay the California Action, and a motion to
     20   dismiss the Delaware Action. The California Plaintiffs filed their opposition on
     21   March 11, 2016, and Defendants filed their reply on April 1, 2016. The Delaware
     22   Plaintiff filed his opposition on April 4, 2016, and Defendants filed their reply on
     23   May 3, 2016.
     24         C.     Settlement Negotiations
     25         Beginning in June 2015, the parties began discussions relating to a possible
     26   settlement through mediation, and ultimately agreed to participate in a formal
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     28          PLAINTIFFS’ UNOPPOSED NTC OF MOT. AND MOT. FOR FINAL APPROVAL;
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      1   mediation session with Judge Phillips.
      2         In September 2015, prior to mediation, Plaintiffs retained a corporate
      3   governance expert, Professor Daniel Morissey of Gonzaga University School of
      4   Law, to review the allegations in the complaint filed in the California Action and
      5   provide recommendations on potential governance reforms that would benefit OSI
      6   and its shareholders. In consultation with Professor Morrissey, the California
      7   Plaintiffs drafted a settlement demand which included comprehensive governance
      8   reforms designed to remedy the breaches of fiduciary duty and internal control
      9   deficiencies at OSI. Separately, the Delaware Plaintiff also made a settlement
     10   demand on Defendants. Collectively, Plaintiffs’ Counsel proceeded to engage in
     11   several rounds of telephonic discussions and exchanged several more written
     12   proposals with counsel for OSI and the Individual Defendants.
     13         On March 18, 2016, while Defendants’ motion to dismiss and/or stay was
     14   pending, and after several exchanges of settlement proposals, the Settling Parties
     15   conducted an in-person, day-long mediation with Judge Phillips. At the mediation,
     16   the parties reached agreement on a number, but not all, of the terms for corporate
     17   governance reforms.     As a result, the parties were unable to reach a final
     18   settlement.
     19         Even though settlement could not be reached at the mediation, the Settling
     20   Parties continued their negotiations in the succeeding months with the assistance of
     21   Judge Phillips. Several months after the mediation, the parties finally reached
     22   agreement on all the material terms for the corporate governance reforms. On July
     23   7, 2016, the Settling Parties executed a term sheet for Settlement of the Actions.
     24   Plaintiffs notified the Court of the pendency of the Settlement on July 8, 2016.
     25         At the time the term sheet was executed, the Settling Parties had not
     26   discussed the amount of attorneys’ fees to be paid to Plaintiffs’ Counsel for the
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     28          PLAINTIFFS’ UNOPPOSED NTC OF MOT. AND MOT. FOR FINAL APPROVAL;
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      1   benefits conferred upon OSI through the Settlement. Only after the negotiations on
      2   corporate governance therapeutics was concluded did the Settling Parties
      3   commence discussions regarding the payment and amount of Plaintiffs’ attorneys’
      4   fees. The discussions concerning Plaintiffs’ attorneys’ fees and expenses were
      5   conducted solely through Judge Phillips’ office.
      6         Because the Settling Parties were unable to reach agreement on Plaintiffs’
      7   attorneys’ fees, the Settling Parties agreed to submit the question of the amount of
      8   legal fees to Judge Phillips for a binding independent determination. The Settling
      9   Parties further agreed that Plaintiffs’ Counsel’s application to this Court for an
     10   award of legal fees and expenses would not exceed the amount determined by
     11   Judge Phillips. On November 10, 2016, after receiving written submissions and
     12   after hearing oral argument from the Settling Parties, Judge Phillips determined
     13   that Defendants should pay Plaintiffs’ Counsel a Fees and Expense Award of $1.6
     14   million.
     15         D.    Preliminary Approval and Notice to Shareholders
     16         On January 24, 2017, the Court entered the Preliminary Approval Order.
     17   ECF No. 93. Pursuant to the terms of the Preliminary Approval Order, OSI caused
     18   the Notice to be published twice in the national edition of Investor’s Business
     19   Daily on February 6 and February 13, 2017, posted the Notice and the Stipulation
     20   of Settlement on OSI’s Investor Relations website, and included a statement in the
     21   quarterly 10-Q filed with the SEC on February 1, 2017, which directs shareholders
     22   to the settlement information posted on OSI’s Investor Relations website.
     23   California Plaintiffs’ Co-Lead Counsel also posted the Settlement and Notice on
     24   their websites. To date, not one OSI shareholder has objected to the Settlement or
     25   the Fee and Expense Award.
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     28          PLAINTIFFS’ UNOPPOSED NTC OF MOT. AND MOT. FOR FINAL APPROVAL;
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      1          E.     Benefits of the Settlement
      2          The proposed Settlement required OSI to significantly update and improve
      3   its corporate governance by implementing the comprehensive terms set forth in
      4   Exhibit A-1 to the Scolnick Decl. In sum, OSI is required to implement, inter alia,
      5   the following corporate governance reforms:
      6          (i)   appoint a new independent director, with compliance-related
      7
                 experience in a highly regulated industry, before its shareholder
                 meeting that took place in December 2016;
      8
                 (ii) appoint a “Lead Independent Director” position to the board of
      9          directors;
     10          (iii) strengthen review and training in corporate governance policies
                 for the CEO, CFO, General Counsel, Vice President of Compliance,
     11
                 and all directors;
     12          (iv)   enhance oversight of the Company’s compliance function;
     13          (v)    revise the Company’s clawback and insider trading policies;
     14          (vi)   approve a Technology Committee Charter;
     15          (vii) amend its compensation policies and Compensation Committee
                 Charter to include compliance as a factor in determining incentive
     16
                 compensation; and
     17          (viii) amend the Audit Committee Charter to require quarterly reports
     18          from the Vice President of Compliance on the adequacy and funding
                 of OSI’s compliance program.
     19
          III.   THE PROPOSED SETTLEMENT IS FAIR, REASONABLE AND
     20          ADEQUATE, AND WARRANTS FINAL APPROVAL
     21          The Settlement creates significant, material benefits for OSI and is the result
     22   of intense, arm’s-length negotiations by experienced counsel. As a result of the
     23   filing, prosecution, and settlement of the Actions, Defendants have agreed to
     24   implement substantial corporate governance reforms designed to prevent the
     25   recurrence of the very misconduct alleged in the Actions. Accordingly, Plaintiffs
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     28           PLAINTIFFS’ UNOPPOSED NTC OF MOT. AND MOT. FOR FINAL APPROVAL;
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      1   respectfully submit that the Settlement is fair, reasonable, adequate, and should be
      2   approved by the Court.
      3                A.     Legal Standards for Final Approval of Derivative Settlement
      4         It is well settled that “[c]ompromises of disputed claims are favored by the
      5   courts.” Williams v. First Nat’l Bank, 216 U.S. 582, 595 (1910);3 Officers for
      6   Justice v. Civil Serv. Comm’n of San Francisco, 688 F.2d 615, 635 (9th Cir. 1982)
      7   (recognizing that the “settlement process [is] favored in the law”); U.S. v. McInnes,
      8   556 F.2d 436, 441 (9th Cir. 1977) (explaining that “there is an overriding public
      9   interest in settling and quieting litigation”). This is particularly true with respect to
     10   shareholder derivative litigation, “because such litigation is ‘notoriously difficult
     11   and unpredictable.’” Maher v. Zapata Corp., 714 F.2d 436, 455 (5th Cir. 1983).
     12   See also In re AOL Time Warner S’holder Deriv. Litig., No. 02 Civ. 6302(SWK),
     13   2006 WL 2572114, at *3 (S.D.N.Y. Sept. 6, 2006) (recognizing that public policy
     14   favors settlement of shareholder derivative litigation); Cohn v. Nelson, 375 F.
     15   Supp. 2d 844, 852 (E.D. Mo. 2005) (settlement of shareholder derivative suits is
     16   “particularly favored”).
     17         Under Federal Rule of Civil Procedure 23.1, court approval is required for
     18   any settlement, voluntary dismissal, or compromise of the claims by the parties.
     19   Fed. R. Civ. P. 23.1(c). While the district court exercises its “sound discretion” in
     20   evaluating a settlement, in exercising its discretion “the court’s intrusion upon
     21   what is otherwise a private consensual agreement negotiated between the parties to
     22   a lawsuit must be limited to the extent necessary to reach a reasoned judgment that
     23   the agreement is not the product of fraud or overreaching by, or collusion between,
     24   the negotiating parties, and that the settlement, taken as a whole, is fair, reasonable
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     26         Unless otherwise noted, citations are omitted.

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     28           PLAINTIFFS’ UNOPPOSED NTC OF MOT. AND MOT. FOR FINAL APPROVAL;
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      1   and adequate to all concerned.” Officers for Justice, 688 F.2d at 625; see also In re
      2   Pac. Enter. Sec. Litig., 47 F.3d 373, 377-78 (9th Cir. 1995) (affirming ruling that
      3   shareholder derivative settlement was “‘fair, reasonable and adequate to [the
      4   company]’”).
      5         In determining whether a settlement is fair, reasonable, and adequate, courts
      6   consider the following factors: (a) the benefits conferred on the corporation; (b)
      7   the risks, costs, and delays of continued litigation; (c) the stage of proceedings; (d)
      8   whether the settlement is the product of arm’s-length negotiations by experienced
      9   counsel; and (e) the reaction of shareholders to the proposed settlement. See
     10   Officers for Justice, 688 F. 2d at 625. The Ninth Circuit, however, has cautioned
     11   that “the settlement or fairness hearing is not to be turned into a trial or rehearsal
     12   for trial on the merits.” Id.
     13         B.     The Settlement Satisfies the Standards for Final Approval
     14         As discussed in detail below, the Settlement merits final approval.
     15                1.     The Settlement Confers Substantial Benefits on the
                              Company
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                ‘“The principal factor to be considered in determining the fairness of a
     17
          settlement concluding a shareholders’ derivative action is the extent of the benefit
     18
          to be derived from the proposed settlement by the corporation, the real party in
     19
          interest.”‘ In re Atmel Corp. Deriv. Litig., No. C 06-4592, 2010 WL 9525643, at
     20
          *12 (N.D. Cal. Mar. 31, 2010). Corporate governance measures such as those
     21
          achieved here provide valuable benefits to public companies. See Mills v. Elec.
     22
          Auto-Lite Co., 396 U.S. 375, 395-96 (1970) (“[A] corporation may receive a
     23
          ‘substantial benefit’ from a derivative suit, justifying an award of counsel fees,
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          regardless of whether the benefit is pecuniary in nature,” because ‘“corporate
     25
          therapeutics’ . . . furnish a benefit to all shareholders”); see also In re NVIDIA
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     28           PLAINTIFFS’ UNOPPOSED NTC OF MOT. AND MOT. FOR FINAL APPROVAL;
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      1   Corp. Deriv. Litig., No. C-06-06110-SBA (JCS), 2008 WL 5382544, at *3 (N.D.
      2   Cal. Dec. 28, 2008); In re Rambus Inc. Deriv. Litig., No. C 06-3513 JF (HRL),
      3   2009 WL 166689, at *3 (N.D. Cal. Jan. 20, 2009); In re Hewlett-Packard Co.
      4   S’holder Deriv. Litig., No. 3:12-cv-06003-CRB, 2015 WL 1153864, at *5 (N.D.
      5   Cal. Mar. 13, 2015); In re MRV Commc’ns, Inc. Deriv. Litig., No. CV 08-03800
      6   GAF (MANx), 2013 WL 2897874, at *6 (C.D. Cal. June 6, 2013).
      7         As a direct result of the filing and prosecution of the Actions, OSI has
      8   agreed to adopt and implement the Governance Measures.            OSI’s Board of
      9   Directors has approved the Settlement, in which the Board acknowledges that the
     10   Governance Measures “confer a substantial and material benefit to OSI and
     11   Current OSI Shareholders.”     Scolnick Decl. Ex. A., §2.2.      In particular, the
     12   Settlement provides for the appointment of a new, additional independent director
     13   who must have compliance-related experience. Scolnick Decl. Ex. A-1 at 2. This
     14   will add a seventh director, ensure that the Board cannot deadlock, and add
     15   relevant, valuable compliance-related experience to the Board.
     16         In addition, OSI will appoint a lead independent director (id.), a measure
     17   designed to further protect the Board from being dominated by management or one
     18   or two directors. The other provisions of the Settlement are similarly designed to
     19   prevent reoccurrence of the wrongdoing alleged in Plaintiffs’ complaints. The
     20   other provisions include: (i) amending compensation policies and the
     21   Compensation Committee Charter so that compliance will be a factor in
     22   determining incentive compensation; (ii) corporate governance training for the
     23   Board; (iii) the creation of a Technology Committee Charter; (iv) corporate
     24   governance reviews by an ethics and compliance specialist for one year after the
     25   Administrative Agreement reached between the United States and OSI expires in
     26   December 2017; (v) amending the Audit Committee Charter to specify its role in
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     28          PLAINTIFFS’ UNOPPOSED NTC OF MOT. AND MOT. FOR FINAL APPROVAL;
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      1   assessing the adequacy of the compliance program’s funding and to state that the
      2   Vice President of Compliance shall review the compliance program with the
      3   Committee on a quarterly basis; and (vi) revisions to OSI’s Clawback Policy and
      4   Insider Trading Policy. Scolnick Decl. Ex. A-1.
      5          Moreover, the materiality of these benefits is confirmed by Professor Daniel
      6   Morrissey, Plaintiffs’ corporate governance expert. In his detailed declaration,
      7   submitted herewith (Scolnick Decl. Ex. B), Professor Morrissey explains the
      8   substantial nature of the Governance Measures, how they have been carefully
      9   drafted to directly address the specific wrongdoing alleged in the Actions, how the
     10   Governance Measures substantially reduce the risk that the wrongdoing which
     11   occurred here (misrepresentations to government agencies, OSI’s principal clients)
     12   would occur again, and how the Governance Measures will substantially improve
     13   the corporate governance at OSI and lead to an improved market capitalization and
     14   other benefits to OSI and its shareholders. See Scolnick Decl. Ex. B, ¶¶30-51;
     15   ¶¶69-71.4
     16          The fact that the governance reforms provided by the Settlement directly
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          4
     18          See, e.g., Scolnick Decl. Ex. B, ¶32 (“adoption of a formal charter for the [Technology]
          committee will help ensure the effective functioning of the committee and improve the Board’s
     19   review of government regulations or contractual requirements involving the Company’s
          technology”); ¶34 (requirement for OSI to retain an ethics and compliance specialist “will [ ]
     20   continue to foster a top-down commitment at OSI to a culture of ethical integrity and full legal
          compliance”); ¶¶35-36 (reforms to Audit Committee Charter such as “specifically charg[ing] the
     21
          Audit Committee to make management aware of its views on whether the Company’s
     22   compliance programs are adequately funded” and requiring “the VP of Compliance . . . to review
          the Company’s Compliance program with the Audit Committee every three months” are
     23   necessary and warranted); ¶41 (“appointment of a lead independent director will remedy that
          monopoly of power and create a situation where Mr. Chopra will be more accountable to the
     24   board”); ¶48 (revisions to clawback policy go beyond Sarbanes Oxley and will thus guard
     25   against any officials of the Company profiting from the type of wrongdoing alleged in these
          Derivative Actions”); ¶49 (revisions to insider trading policy “will provide another safeguard to
     26   expose such insider trading and therefore deter that illegal activity”).

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     28           PLAINTIFFS’ UNOPPOSED NTC OF MOT. AND MOT. FOR FINAL APPROVAL;
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      1   target the organizational and corporate compliance failures alleged in the Actions
      2   strongly militates in favor of approval. See Sved v. Chadwick, 783 F. Supp. 2d
      3   851, 864 (N.D. Tex. 2009) (approving derivative litigation settlement because it
      4   “offers tangible, long-term remedial measures that are specifically designed to
      5   avoid the alleged missteps in [the company’s] past and protect shareholders as the
      6   company moves forward”); Mohammed v. Ells, No. 12-cv-1831-WJM-MEH, 2014
      7   WL 4212687, at *3 (D. Colo. Aug. 26, 2014) (finding settlement fair and adequate
      8   where “the corporate governance reforms provided for as part of the settlement are
      9   specifically and appropriately designed to prevent the recurrence of the alleged
     10   misconduct that formed the basis for this action.”); Maher, 714 F.2d at 466 (“a
     11   settlement may fairly, reasonably, and adequately serve the best interest of a
     12   corporation, on whose behalf the derivative action is brought, even though no
     13   direct monetary benefits are paid by the defendants to the corporation”) (citing
     14   Goldman v. Northrop Corp., 603 F.2d 106, 108-09 (9th Cir. 1979)).
     15         The Settlement achieves for OSI and its shareholders the substantial benefit
     16   of significant reforms that will materially improve the Company’s corporate
     17   governance. See supra §II.D.; Scolnick Decl. Ex. A-1. These reforms are not only
     18   designed to address the “corporate trauma” alleged in the Complaint, but also to
     19   strengthen and enhance compliance, as well as oversight of compliance, in a highly
     20   regulated industry.     These reforms also enhance the independence and
     21   accountability of the Board and its various governing committees.
     22               2.     The Settlement Appropriately Weighs the Benefits
                             Conferred upon OSI with the Significant Risks of
     23                      Continued Litigation
     24         In assessing the fairness, reasonableness, and adequacy of a settlement, the
     25   Court should balance the benefits of the Settlement against the continuing risks of
     26   litigation. Officers for Justice, 688 F.2d at 625. As courts have commented,
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     28          PLAINTIFFS’ UNOPPOSED NTC OF MOT. AND MOT. FOR FINAL APPROVAL;
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      1   derivative actions are fraught with risk. Indeed, the Ninth Circuit has stated that
      2   “the odds of winning [a] derivative lawsuit [are] extremely small.” In re Pac.
      3   Enter., 47 F.3d at 378.
      4         Here, because a pre-suit demand was not made on the Company’s Board,
      5   Defendants argued that Plaintiffs had not adequately alleged demand futility. To
      6   establish demand futility under controlling Delaware law, Plaintiffs would have
      7   had to establish that a majority of the board (1) was “interested” by facing a
      8   substantial likelihood of liability with respect to one or more of the alleged claims;
      9   or (2) lacked “independence” by being beholden to an interested person. See Rales
     10   v. Blasband, 634 A.2d 927, 932-34 (Del. 1993). To satisfy this standard, Plaintiffs
     11   would have had to overcome the presumption that directors are “faithful to their
     12   fiduciary duties.” In re Impax Lab., Inc. S’holder Deriv. Litig., No. 14-cv-04266-
     13   HSG, 2015 WL 5168777, at *4 (N.D. Cal. Sept. 3, 2015).
     14         Although Plaintiffs’ counsel reviewed hundreds of pages of internal
     15   confidential documents produced by Defendants pursuant to various “books and
     16   records demands. Defendants also argued that Plaintiffs would have had difficulty
     17   in obtaining formal discovery in this case because of the requirements under Touhy
     18   v. Ragen, 340 U.S. 462 (1951), which prohibits the disclosure of agency
     19   information in a civil litigation without the agency’s express consent and a
     20   plaintiff’s compliance with the agency’s procedures. As it explained in the Roberti
     21   class action, TSA would have insisted on Plaintiff’s strict compliance with Touhy
     22   before it permitted the production of any documents created or prepared by (1)
     23   “TSA and shared with Defendants in the course of contract performance, such as
     24   technical specifications, test reports and others;” or (2) “Rapiscan and provided to
     25   TSA as a deliverable under its TSA contract(s),” whether the documents are in the
     26   possession of Defendants or TSA. Scolnick Decl Ex. C at 1. These documents
     27
                                                   13
     28          PLAINTIFFS’ UNOPPOSED NTC OF MOT. AND MOT. FOR FINAL APPROVAL;
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      1   were important to the claims in Plaintiffs’ case.          In order to obtain these
      2   documents, Plaintiffs would first have had to submit a written request to TSA
      3   identifying “with as much specificity as possible, the nature and relevance of the
      4   official information sought.”     6 C.F.R. §5.45(a).      However, TSA has broad
      5   discretion in deciding whether to comply with such requests, and if Plaintiffs
      6   wanted to challenge any refusal of TSA to provide documents, Plaintiffs would
      7   have had to initiate a separate lawsuit. 6 C.F.R. §5.48(a).
      8         Considering the difficulty and unpredictability of a lengthy and complex
      9   trial, the benefits of obtaining a Settlement were significant. It is also clear that
     10   even a victory at trial is no guarantee that the judgment would ultimately be
     11   sustained on appeal or by the trial court in post-trial motions. The proposed
     12   Settlement eliminates these and other risks of continued litigation, including the
     13   very real risk of no recovery after several more years of litigation, while providing
     14   OSI with substantial benefits immediately. See, e.g., Maher, 714 F.2d at 466
     15   (affirming approval of derivative settlement where district court found that ‘“the
     16   parties’ conclusion, that any possible benefit to [the company] from pursuing the
     17   remaining causes of action could be more than offset by the additional cost of
     18   litigation, [wa]s based on an intelligent and prudent evaluation of their case.”’)
     19                3.     The Extent of Discovery and Stage of the Proceedings
     20         Courts also consider the extent of discovery completed and the stage of the
     21   proceedings together as one factor in determining the fairness, reasonableness, and
     22   adequacy of the proposed Settlement. Officers for Justice, 688 F.2d at 625; Girsh
     23   v. Jepson, 521 F.2d 153, 157 (3d Cir. 1975); Boyd v. Bechtel Corp., 485 F. Supp.
     24   610, 616-17 (N.D. Cal. 1979). The Ninth Circuit has noted that “‘formal discovery
     25   is not a necessary ticket to the bargaining table’ where the parties have sufficient
     26   information to make an informed decision about settlement.” In re Mego Fin.
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                                                    14
     28          PLAINTIFFS’ UNOPPOSED NTC OF MOT. AND MOT. FOR FINAL APPROVAL;
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      1   Corp. Sec. Litig., 213 F.3d 454, 459 (9th Cir. 2000); see also Sved, 783 F. Supp. 2d
      2   at 861 (Courts “look[] not to the amount of discovery, but rather to ‘whether the
      3   parties have obtained sufficient information about the strengths and weaknesses of
      4   their respective cases to make a reasoned judgment about the desirability of
      5   settl[ement].’”).
      6         Here, Plaintiffs and Plaintiffs’ Counsel have engaged in extensive
      7   investigation, document discovery, and other litigation efforts throughout the
      8   prosecution of the Action, including, among other things:          (1) reviewing and
      9   analyzing hundreds of pages of non-public documents relating to the claims
     10   produced by OSI in response to shareholder inspection demands; (2) reviewing
     11   OSI’s press releases, public statements, U.S. Securities and Exchange Commission
     12   (“SEC”) filings, and securities analysts’ reports and advisories about the Company;
     13   (3) reviewing media reports about the Company; (4) researching the applicable law
     14   with respect to the claims alleged in the Actions and the potential defenses thereto;
     15   (5) preparing and filing multiple derivative complaints; (6) conducting damages
     16   analyses; (7) participating in informal conferences with Defendants’ Counsel
     17   regarding the specific facts of the cases, the perceived strengths and weaknesses of
     18   the cases, and other issues in an effort to facilitate negotiations and fact gathering;
     19   (8) reviewing hundreds of pages of internal OSI documents concerning its existing
     20   corporate governance structure that were produced prior to the mediation; (9)
     21   participating in a day-long mediation and several follow-up conferences; and (10)
     22   negotiating this Settlement with Defendants. Scolnick Decl. Ex. A at 6-7.
     23         Specifically, the internal company documents Plaintiffs obtained from OSI
     24   pursuant to their shareholder inspection demands under 8 Del. C. §220 and those
     25   produced prior to the mediation thoroughly described the Company’s existing
     26   compliance structure, as well as reviews from an independent third party retained
     27
                                                    15
     28           PLAINTIFFS’ UNOPPOSED NTC OF MOT. AND MOT. FOR FINAL APPROVAL;
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      1   by OSI under the Administrative Agreement to assist OSI in enhancing its
      2   compliance profile. The accumulation of the information discovered through the
      3   above efforts enabled Plaintiffs and Plaintiffs’ Counsel to be well informed about
      4   the strengths and weaknesses of the cases and to engage in effective settlement
      5   discussions with Defendants. Scolnick Decl. Ex. A at 6-7.
      6               4.     The Settlement Was Negotiated at Arm’s-Length by
                             Experienced Counsel
      7
                A strong presumption of fairness applies to settlements that have been
      8
          negotiated at arm’s-length by experienced counsel and with the assistance of an
      9
          independent mediator. See, e.g., Hanlon v. Chrysler Corp., 150 F.3d 1011, 1029
     10
          (9th Cir. 1998); In re MRV Commc’ns, 2013 WL 2897874, at *2 (“‘The
     11
          involvement of experienced [] counsel and the fact that the settlement agreement
     12
          was reached in arm’s length negotiations, after relevant discovery ha[s] taken place
     13
          create a presumption that the agreement is fair.’”); In re Austrian and German
     14
          Bank Holocaust Litig., 80 F. Supp. 2d 164, 173-74 (S.D.N.Y. 2000) (Where “the
     15
          Court finds that the Settlement is the product of arm’s length negotiations
     16
          conducted by experienced counsel knowledgeable in complex . . . litigation, the
     17
          Settlement will enjoy a presumption of fairness.”).
     18
                The Settlement here was reached after extensive arm’s-length negotiations
     19
          between counsel for the Parties.     The negotiations included Plaintiffs sending
     20
          Defendants a detailed set of settlement demands and counter-demands, and an in
     21
          person mediation session as well as continued assistance from Judge Phillips, a
     22
          well-respected mediator who is well versed in the field of complex litigation,
     23
          especially shareholder derivative litigation. This factor thus weighs in favor of
     24
          approval of the proposed Settlement. See In re Atmel, 2010 WL 9525643, at *13
     25
          (noting that “Judge Phillips’ participation weighs considerably against any
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     28          PLAINTIFFS’ UNOPPOSED NTC OF MOT. AND MOT. FOR FINAL APPROVAL;
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      1   inference of a collusive settlement.”).
      2          All counsel possessed a firm understanding of the strengths and weaknesses
      3   of their respective claims and defenses. The Settling Parties and their respective
      4   counsel believe that that the proposed Settlement before the Court represents a fair,
      5   reasonable, beneficial, and practical resolution of highly uncertain litigation, and
      6   that its terms fairly account for the risks and potential rewards of the claims being
      7   settled.    Scolnick Decl. Ex. A at 6-8.       As the Ninth Circuit has recognized,
      8   significant weight should be attributed to the parties’ belief that the litigation
      9   should be settled on the proposed terms, since “[p]arties represented by competent
     10   counsel are better positioned than courts to produce a settlement that fairly reflects
     11   each party’s expected outcome in litigation.” In re Pac. Enter., 47 F.3d at 378; see
     12   also In re First Capital Holdings Corp. Fin. Prod. Sec. Litig., MDL No. 901, 1992
     13   WL 226321, at *2 (C.D. Cal. June 10, 1992) (finding belief of counsel that the
     14   proposed settlement represented the most beneficial result for the class to be a
     15   compelling factor in approving settlement).
     16                  5.    Current OSI Shareholders Overwhelmingly Favor Final
                               Approval of the Settlement
     17
                 The Settlement’s fairness is further demonstrated by the fact that OSI
     18
          shareholders overwhelmingly support the approval of the Settlement. See In re
     19
          Apple Computer, Inc. Deriv. Litig., No. C 06-4128 JF (HRL), 2008 WL 4820784,
     20
          at *3 (N.D. Cal. Nov. 5, 2008) (a “factor to consider in evaluating a proposed
     21
          derivative settlement is shareholder opposition”). On January 24, 2017, this Court
     22
          entered the Preliminary Approval Order. ECF No. 93. Pursuant to the terms of the
     23
          Preliminary Approval Order, OSI published a copy of the Notice in the national
     24
          edition of Investor’s Business Daily on February 6 and February 13, 2017, posted
     25
          the Notice and the settlement terms on OSI’s Investor Relations website, and
     26

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                                                    17
     28              PLAINTIFFS’ UNOPPOSED NTC OF MOT. AND MOT. FOR FINAL APPROVAL;
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      1   included a statement in its 10-Q filed with the SEC on February 1, 2017.
      2   Plaintiffs’ Counsel also posted the Settlement and Notice on their websites.
      3         Pursuant to the Preliminary Approval Order, the Notice directed that any
      4   objections to the Settlement be filed by April 17, 2017.        To date, Plaintiffs’
      5   Counsel have not received notice of a single objection to the Settlement or to the
      6   Fee and Expense Award. “The reaction of the class to the proffered settlement is
      7   perhaps the most significant factor to be weighed in considering its adequacy.” In
      8   re SmithKline Beckman Corp. Sec. Litig., 751 F. Supp. 525, 530 (E.D. Pa. 1990);
      9   see also 7-Eleven Owners for Fair Franchising v. Southland Corp., 85 Cal. App.
     10   4th 1135, 1153 (2000) (positive reaction from class members favors approval).
     11   Even a small number of objections in the face of overwhelming support is
     12   convincing evidence of a proposed settlement’s fairness and adequacy. See, e.g.,
     13   Rome v. Archer, 197 A.2d 49, 58 (Del. 1964) (approving settlement agreement that
     14   was ratified by a large majority of shareholders); see also Ryan v. Gifford, C.A.
     15   No. 2213-CC, 2009 Del. Ch. LEXIS 1, at *32 (Del. Ch. Jan. 2, 2009) (the presence
     16   of only one objector to a proposed settlement lent “support to plaintiffs’ argument
     17   that the Settlement is fair, reasonable, and adequate). Where, as here, there is no
     18   objection, approval of settlement “would be almost perfunctory.”          Chiulli v.
     19   Hardwicke Co., 1985 WL 11532, at *1 (Del. Ch. Feb. 11, 1985).
     20         C.      The Negotiated Amount of Attorneys’ Fees and Expenses Should
                        be Approved
     21
                After the terms of the Settlement were reached, the Settling Parties
     22
          attempted to resolve the issue of the appropriate amount of attorneys’ fees and
     23
          expenses that should be awarded to Plaintiffs’ Counsel based on the substantial
     24
          benefits conferred. Those negotiations were conducted through Judge Phillips’
     25
          office.    After those discussions proved unsuccessful, the parties consented to
     26

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     28             PLAINTIFFS’ UNOPPOSED NTC OF MOT. AND MOT. FOR FINAL APPROVAL;
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      1   submit the question of the amount of the Fees and Expense Award that OSI should
      2   pay for binding determination by Judge Phillips.            After receiving written
      3   submissions and hearing oral argument from the Settling Parties, Judge Phillips
      4   determined that Defendants should pay Plaintiffs’ Counsel $1.6 million.
      5   Accordingly, Defendants have agreed to, and do not oppose Plaintiffs’ Counsels’
      6   request to this Court for, a Fees and Expense Award in the amount of $1.6 million.
      7   The U.S. Supreme Court has encouraged this type of resolution of attorneys’ fees,
      8   stating that “[a] request for attorney’s fees should not result in a second major
      9   litigation. Ideally, of course, litigants will settle the amount of a fee.” Hensley v.
     10   Eckerhart, 461 U.S. 424, 437 (1983).
     11         The attorneys’ fees here were negotiated at arm’s-length and should be
     12   approved by the Court. Courts in the Ninth Circuit routinely approve attorneys’
     13   fees in derivative settlements when the fees are negotiated separately and at arm’s-
     14   length. See, e.g., Wehlage v. Evergreen at Arvin LLC, No. 4:10-cv-05839-CW,
     15   2012 WL 4755371 (N.D. Cal. Oct. 4, 2012) (approving fee amount that was
     16   negotiated at arm’s-length with defendants); In re Apple Computer, 2008 WL
     17   4820784, at *3 (approving attorneys’ fee that was negotiated separately and
     18   finding that “a court should refrain from substituting its own value for a properly
     19   bargained-for agreement”).
     20         The Fees and Expense Award requested is also reasonable. The Ninth
     21   Circuit has enumerated several factors to consider when determining the
     22   reasonableness of attorneys’ fees, including: (1) the results achieved; (2) the risks
     23   of the litigation; (3) the skill required and the quality of the work; (4) the
     24   contingent nature of the fee; (5) the burdens carried by plaintiffs’ counsel; and (6)
     25   the awards made in similar cases. In re MRV Commc’ns, 2013 WL 2897874, at *6.
     26         The Supreme Court has stated that ‘“the most critical factor’ in determining
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                                                   19
     28          PLAINTIFFS’ UNOPPOSED NTC OF MOT. AND MOT. FOR FINAL APPROVAL;
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      1   the reasonableness of a fee award ‘is the degree of success obtained.”‘ Klein v.
      2   City of Laguna Beach, 810 F.3d 693, 698-99 (9th Cir. 2016) (quoting Farrar v.
      3   Hobby, 506 U.S. 103, 114 (1992)). Where, as here, the corporation benefits as a
      4   result of counsel’s efforts in securing significant corporate governance reforms,
      5   counsel is entitled to an award of attorneys’ fees and expenses. See, e.g., In re
      6   Rambus, 2009 WL 166689, at **3-4 (explaining that “courts consistently have
      7   approved attorneys’ fees and expenses in shareholder actions where the plaintiffs’
      8   efforts resulted in significant corporate governance reforms. . . .” and awarding $2
      9   million fee where “the corporate governance reforms [we]re of significant value to
     10   [the company]”). In re NVIDIA, 2008 WL 5382544, at *3; In re Hewlett-Packard,
     11   2015 WL 1153864, at *5. As such, corporate governance reforms have formed the
     12   basis of many other derivative settlements, and expert studies demonstrate that
     13   such changes increase the market value of a company.5 As the Supreme Court has
     14   explained, “an increasing number of lower courts have acknowledged that a
     15   corporation may receive a ‘substantial benefit’ from a [stockholders’ action],
     16   justifying an award of counsel fees, regardless of whether the benefit is pecuniary
     17   in nature.” Mills, 396 U.S. at 395.
     18          Here, the corporate governance changes resulting from the Settlement confer
     19   substantial benefits to OSI. The Settlement effects critical corporate governance
     20   reforms tailored to address OSI’s loss government contracts costing OSI millions
     21
          5
     22           See, e.g., Paul A. Gompers, Corporate Governance and Equity Prices, Q.J. ECON. 118(1),
          at 107-155 (2003) (finding that firms with stronger governance traded at a “corporate governance
     23   premium” and had higher firm value, higher profits, higher sales growth, and lower capital
          expenditures); ); McKinsey & Company, Global Investor Opinion Survey on Corporate
     24   Governance (2002) (finding that 75% of institutional investors responded to a survey stating that
          board practices are at least as important to them as financial performance and 80% responding
     25   that they would pay more for a company with good governance than bad governance);McKinsey
          & Company, Putting a Value on Board Governance, (1996) (concluding that institutional
     26   investors were willing to pay an average of 11% more for well governed companies).

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     28           PLAINTIFFS’ UNOPPOSED NTC OF MOT. AND MOT. FOR FINAL APPROVAL;
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      1   of dollars. The Settlement requires, among other things, the appointment of an
      2   additional independent director, the naming of a lead independent director, and
      3   reforms tailored to ensure compliance with government procurement policies (a
      4   risk area OSI acknowledges), and to restore Board/management accountability. As
      5   acknowledged by Defendants, the Governance Measures in this case were achieved
      6   as a result of the efforts of Plaintiffs’ Counsel, and provide substantial benefits to
      7   OSI and its shareholders. See supra §§II.D and III.B.1.
      8         The fee award also satisfies the other factors that courts in the Ninth Circuit
      9   look to in determining whether a fee award is reasonable. Indeed, pursuing this
     10   litigation was inherently risky, as “derivative lawsuits are rarely successful.” In re
     11   Pac. Enter. 47 F.3d at 378. In addition, the skill required by Counsel to prosecute
     12   and settle the action supports the requested fee award, as Plaintiffs’ Counsel are
     13   made up of law firms that specialize in stockholder litigation and provided
     14   extensive, high-quality representation throughout the pendency of the actions.
     15   Plaintiffs’ Counsel also undertook this litigation on a fully contingent basis with
     16   the expectation that they would have to devote many hours of hard work to the
     17   prosecution of a case involving complex factual and legal issues without any
     18   guarantee of successful resolution or of compensation for their efforts.          The
     19   prosecution of the actions involved the expenditure of significant resources,
     20   including time spent by attorneys and staff, as well as hard expenses incurred
     21   during the litigation, for which Plaintiffs’ counsel received no compensation during
     22   the course of litigation. Accordingly, the contingent nature of the representation
     23   and the burdens taken on by Plaintiffs’ counsel fully support the requested fee
     24   award. See, In re MRV, 2013 WL 2897874, at *6 (“the fifth factor is clearly
     25   satisfied here as well, as ‘[t]he litigation was undertaken by Plaintiffs’ Counsel on
     26   a wholly contingent basis’ with the understanding that they were embarking on a
     27
                                                   21
     28          PLAINTIFFS’ UNOPPOSED NTC OF MOT. AND MOT. FOR FINAL APPROVAL;
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      1   complex, expensive, and lengthy litigation with no guarantee of ever being
      2   compensated for the investment of time and money the case required.”)
      3         In light of the extensive corporate governance changes achieved here, the
      4   substantial risks involved, and the contingent nature of the representation, the $1.6
      5   million Fees and Expense Award is reasonable. In addition, the amount requested
      6   is reasonable when compared with fees awarded in other derivative settlements:
      7               In County of York Employees Retirement Plan and Lynne Schwartz v.
                       Jung, Index No. 651304/2010 (N.Y. Sup., N.Y. Cty.), the court
      8                awarded a $4 million fee in a derivative case concerning Avon
                       Products, Inc.’s alleged non-compliance with the Foreign Corrupt
      9                Practices Act and its alleged lack of adequate internal controls.
                       Settlement was reached while the motion to dismiss was pending.
     10                During settlement negotiations, Avon also reached an agreement with
                       the SEC and the DOJ on the underlying charges resulting in a $135
     11                million fine. The settlement resulted in Avon implementing a global
                       ethics and compliance regime for four years.
     12
                      In Unite Nat’l Ret. Fund v. Watts, No. 04CV3603 (DMC), 2005 WL
     13                2877899 (D.N.J. Oct. 27, 2005), the court awarded $9.2 million in a
                       derivative case involving where no motion to dismiss was filed. This
     14                case involved Shell’s recategorization of oil reserves. The settlement
                       resulted in the adoption of corporate governance principles including
     15                structure, audit, compensation, and limitations such that the CEO and
                       other senior management had no more than one non-executive
     16                directorship in a FTSE 100 company. The CEO and CFO were also
                       charged with, among other things, ensuring that the company’s
     17                accounting practices comply with International Reporting Standards
                       and that the company employ an outside consultant for at least five
     18                years.
     19               In Warner v. Lesar, No. 2011-09567 (Tex. Dist., Harris Cty. Oct. 1,
                       2012), the court awarded $7.75 million against Halliburton in a
     20                derivative case involving an environmental disaster following the
                       Deepwater Horizon explosion. The parties settled following the
     21                company’s refusal to pursue litigation. The achieved changes
                       included improvements to corporate governance guidelines to
     22                promote the protection of health, safety and the environment, and the
                       retention of an independent risk expert.
     23
                      In In re DaVita Healthcare Partners, Inc. Deriv. Litig., Nos. 12-cv-
     24                2074-WJM-CBS, 13-cv-1308-WJM-CBS (D. Colo. 2015), the court
                       awarded $6.1 million in a case involving false Medicare billing and
     25                the False Claims Act. The corporate governance enhancements
                       included increased oversight of Medicare billing. The settlement was
     26                achieved after the defendants had filed their motion to dismiss.
     27
                                                   22
     28          PLAINTIFFS’ UNOPPOSED NTC OF MOT. AND MOT. FOR FINAL APPROVAL;
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      1              In In re Johnson & Johnson Deriv. Litig., Nos. 10-2033 (FLW), 11-
                      4993, 11-2511 (FLW) (D.N.J. 2013), the court awarded $5.3 million
      2               in a derivative case involving the company’s off label marketing,
                      kickbacks, and product recalls. The settlement was reached after the
      3               motion to dismiss was granted and prior to the filing of an amended
                      complaint.      The settlement achieved corporate governance
      4               enhancements such as the adoption of management level systems and
                      procedures designed to ensure early detection and remediation of all
      5               product related issues.
      6              In Plymouth County Contributory Ret. Sys. v. Hassan, No. 08-1022
                      (DMC) (JAD), 2012 WL 664827 (D.N.J. Feb. 28, 2012), the court
      7               awarded $5.1 million in fees against Merck in a derivative action
                      involving the failure of the drug Vytorin. Settlement was achieved
      8               following filing of the motion to dismiss. The settlement achieved
                      corporate governance enhancements including a report from Merck
      9               Research Labs to the Research Committee of the Board concerning
                      any covered clinical trial with delayed results, the reasons for such
     10               delay, and the results of any corrective action taken.
     11              In Lambrecht, v. Taurel, No. 1:08-cv-68-WTL-TAB, 2010 WL
                      2985943 (S.D. Ind. July 27, 2010), the court awarded $8.75 million in
     12               fees. The case involved Eli Lilly’s alleged improper marketing of
                      certain drugs and improper rebates. No motion to dismiss had been
     13               filed. The settlement achieved corporate governance enhancements
                      including changes to the company’s corporate governance,
     14               compliance, and risk management systems. Eli Lilly was required to
                      adopt a Product Safety and Medical Risk Management Core objective,
     15               as well as policies and procedures to support scientific excellence in
                      the development and communication of product safety and
     16               effectiveness information. Amendments were made to the company’s
                      Science & Technology Committee Charter regarding reporting to the
     17               Board on the safety and effectiveness of products. The changes also
                      included enhanced oversight by the Public Policy and Compliance
     18               Committee in areas of non-financial compliance and non-financial
                      enterprise risk management and operational audit.
     19
                     In Rubery v. Kleinfeld, No. 2:12-cv-00844-DWA (W.D. Pa. 2014), the
     20               court awarded $3.75 million in fees in a derivative case involving the
                      Foreign Corrupt Practices Act. Neither a motion to dismiss nor an
     21               answer had been filed when the case settled. The settlement achieved
                      corporate governance and compliance reforms including the creation
     22               of a Chief Ethics and Compliance Officer position, mandatory due
                      diligence on foreign intermediaries, and updates to the company’s
     23               policies on meals and entertainment.
     24         The Settlement in this case provides shareholders with similar or even better
     25   results than those achieved in the settlements described above.
     26         Additionally, a “lodestar cross-check” also supports the reasonableness of
     27
                                                   23
     28          PLAINTIFFS’ UNOPPOSED NTC OF MOT. AND MOT. FOR FINAL APPROVAL;
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      1   the Fees and Expense Award. Roberti v. OSI Systems Inc., No. 2:13-cv-09174-
      2   MWF-MRWx, 2015 WL 8329916, at *7 (C.D. Cal. 2013) (“reasonableness of [fee
      3   award] is confirmed by a cross-check with a lodestar comparison”). The “lodestar”
      4   is produced by multiplying the number of hours expended by counsel’s hourly rate.
      5   Id., at *6. Here, Plaintiffs’ Counsel’s lodestar is in excess of $2.75 million as of
      6   November 9, 2016 when the Settling Parties submitted the attorneys’ fees issue to
      7   binding arbitration before Judge Phillips ($2,240,440 in costs and fees for
      8   California Counsel and $505,000.00 in costs and fees for Delaware Counsel). The
      9   costs and fees associated with Plaintiffs’ Preliminary and Final Approval Motions
     10   have not been included in this calculation.                In the Ninth Circuit, lodestar
     11   multipliers can range from two to four times, or even higher. See, e.g., Vizcaino v.
     12   Microsoft Corp., 290 F.3d 1043, 1051 (9th Cir. 2002) (affirming fee award equal
     13   to lodestar multiplier of 3.65 and listing 23 settlements and multipliers for each,
     14   where the average multiplier is 3.28).6
     15          D.     The Requested Service Awards for Plaintiffs Are Reasonable and
                        Appropriate
     16
                 The Stipulation provides that Plaintiffs’ Counsel will apply for an service
     17
          award for Plaintiffs in an amount not to exceed $5,000 each, to be paid from the
     18
          Attorneys’ Fees and Expenses awarded by the Court. Scolnick Decl. Ex. A, §5.10.
     19
          Notably, “[a]n incentive payment to come from the attorneys’ fees awarded to
     20
          plaintiff’s counsel need not be subject to intensive scrutiny, as the interests of the
     21

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          6
                   See also In re DaVita Healthcare Partners, Inc., Deriv. Litig., No. 12-cv-2074-WJM-
     23   CBS, 2015 WL 3582265 (D. Colo. June 5, 2015) ($6.1 million attorneys’ fees award with 3.0
          lodestar multiplier in a derivative suit that settled for corporate governance reforms); In re
     24   Cadence Design Systems, Inc. Sec. & Deriv. Litig., No. C-008-49661 SC, 2012 WL 1414092, at
          *5 (N.D. Cal. Apr. 23, 2012) (approving fee equal to 2.88 lodestar multiplier); Buccallato v.
     25   AT&T Operations, Inc., No. C10-00463-LHK, 2011 WL 3348055, at *2 (N.D. Cal. June 30,
          2011) (approving 4.3 lodestar multiplier and listing cases approving multipliers ranging from 4.3
     26   to 9.3).

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     28           PLAINTIFFS’ UNOPPOSED NTC OF MOT. AND MOT. FOR FINAL APPROVAL;
                                  MEMORANDUM IN SUPPORT THEREOF
                                 Lead Case No. 2:14-CV-2910-MWF (MRWx)
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      1   corporation, the public, and the defendants are not directly affected.”        In re
      2   Cendant Corp., Deriv. Action Litig., 232 F. Supp. 2d 327, 344 (D.N.J. 2002).
      3         Here, the Plaintiffs vigorously participated in the litigation and willingly
      4   undertook the responsibilities and risks attendant with bringing these derivative
      5   actions. In doing so, Plaintiffs devoted many hours to litigation-related activities.
      6   Plaintiffs diligently participated in the prosecution of this action for more than
      7   three years by, among other things, reviewing and discussing with counsel the
      8   Verified Complaints, the motion to dismiss briefing, Settlement-related documents,
      9   the Preliminary Approval Order, as well as numerous other consultations and
     10   conferences with Plaintiffs’ Counsel. As a result, Plaintiffs and Plaintiffs’ Counsel
     11   respectfully request that the Court grant the requested $5,000 service awards to
     12   each Plaintiff.
     13   IV.   CONCLUSION
     14         For the reasons stated above, Plaintiffs respectfully request that the Court
     15   grant final approval of the proposed Settlement, including the Fees and Expense
     16   Award.
     17   DATED: April 10, 2017             Respectfully submitted,
     18
                                            SCOTT+SCOTT, ATTORNEYS AT LAW, LLP

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     20                                Co-Lead Counsel for Plaintiffs
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